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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. _______________________
                                        22-mj-8078-RMM




  UNITED STATES OF AMERICA
                                                                                        SP
  v.
                                                                              Mar 9, 2022
  KEVIN C. FUSCO,

                                                                                           West Palm Beach

                Defendant.
   __________________________________/
                                   CRIMINAL COVER SHEET

     Did this matter originate from a matter pending in the Central Region of the United States
       Attorney’s Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?               ✔ No
                                                                                 ___ Yes ___

     Did this matter originate from a matter pending in the Northern Region of the United States
       Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? ___ Yes ___ ✔ No

     'LGWKLVPDWWHURULJLQDWHIURPDPDWWHUSHQGLQJLQWKH&HQWUDO5HJLRQRIWKH8QLWHG6WDWHV
                                                                                               ✔
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                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY
                                        BY:    _____________________________________
                                               DANIEL E. FUNK
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Florida Bar No. 0592501
                                               500 South Australian Avenue, Suite 400
                                               West Palm Beach, Florida 33401
                                               7HO       305-905-7509
                                               )D[       561-820-8777
                                               (PDLO     daniel.funk@usdoj.gov
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 22-mj-8078-RMM
                      KEVIN C. FUSCO                             )
                                                                 )                                                    SP
                                                                 )
                           Defendant(s)                                                                     Mar 9, 2022
                                                   CRIMINAL COMPLAINT
                                                                                                                       West Palm Beach

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 16, 2021 until March 3, 2022            in the county of            Palm Beach               in the
     Southern          District of           Florida         , the defendant(s) violated:

            Code Section                                                   Offense Description

21 U.S.C. §§ 841(a)(1), 846, and              Conspiracy to distribute 50 grams or more of methamphetamine
841(b)(1)(A)(viii)
21 U.S.C. §§ 841(a)(1), 846,                  Conspiracy to distribute 40 grams or more of fentanyl
and 841(b)(1)(B)(vi)
21 U.S.C. §§ 841(a)(1), and                   Possession with intent to distribute 50 grams or more of methamphetamine
841(b)(1)(A)(viii)



         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                            Complainant’s signature

                                                                                   FBI Special Agent Arturo Calderon
                                                                                             Printed name and title
SwornWRPHYLD7HOHSKRQH)DFH7LPH
E\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKH
UHTXLUHPHQWVRI)HG5&ULP3

Date:
                                                                                               Judge’s signature

City and state:                      West Palm Beach, FL                        Ryon M. McCabe, U.S. Magistrate Judge
                                                                                             Printed name and title
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                              AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR CRIMINAL COMPLAINT

         I, Arturo Calderon, being first duly sworn, depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), and I

 have been so employed since April 2008. I am currently assigned to the Safe Streets Task Force

 Squad of the West Palm Beach Resident Agency. I have primarily been assigned to the investigation

 of gangs, drug trafficking, violent crimes, organized criminal enterprises, and bank robberies. I have

 been instructed in investigative techniques concerning drug trafficking offenses, to include dark

 web narcotics violations, amongst other federal violations. Prior to joining the FBI, I was employed

 as a Federal Air Marshal, and as a U.S. Immigration Inspector with the U.S. Immigration and

 Naturalization Service before joining the Federal Air Marshals. I have investigated and gained

 convictions against multiple drug traffickers engaged in the interstate smuggling and sale of narcotics

 both using the Dark Web, postal system, and other means of distribution, supply, and transport. I have

 attended conferences to receive training specific to Dark Web narcotics trafficking and other internet

 platforms used for illicit activities. Through my training and experience I have familiarity with

 investigations involving the use of computers, mobile devices, and associated software applications

 in furtherance of drug smuggling and other illicit activities. Such experience and training extends to

 investigations covering the use of The Onion Router, Virtual Private Network services, and encrypted

 software services used by drug traffickers to conceal their activity from law enforcement.

 Accordingly, I have worked numerous cases involving violations of 21 U.S.C. § 841(a)(1) and 21

 U.S.C. § 843(b).




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        2.      This affidavit is made in support of a criminal complaint charging KEVIN

 CHRISTIAN FUSCO, a/k/a “Syntropy,” with conspiracy to distribute 50 grams of more of

 methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 846 and 841(b)(1)(A)(viii), conspiracy

 to distribute 40 grams of more of fentanyl, in violation of 21 U.S.C. §§ 841(a)(1), 846 and

 841(b)(1)(B)(vi), and possession with intent to distribute 50 grams or more of methamphetamine, in

 violation of 21 U.S.C. §§ 841(a)(1), and 841(b)(1)(A)(viii).

                                       PROBABLE CAUSE

        3.      This application stems from an ongoing criminal investigation into illegal narcotics

 dealers operating on criminal online marketplace websites, including Dark0de Marketplace, White

 House Marketplace, and World Marketplace. During this investigation, I have learned that there

 are many criminal marketplaces accessible through The Onion Router (“Tor”) network on the “Dark

 Web.” Dark0de Marketplace, White House Marketplace, and World Marketplace are designed to

 promote the anonymous sale of illegal items, such as narcotics, in exchange for Bitcoin and other

 peer-to-peer cryptocurrencies (also known as “virtual currencies”). These Dark Web drug

 marketplaces are made up of vendor profiles akin to those profiles or “shops” seen on websites such

 as Ebay.com. Each vendor profile can offer a selection of products to sell. These products are

 generally different quantities of narcotics offered for sale. This complaint concerns the operation

 of narcotics vendor profile “Syntropy” (Kevin FUSCO) on Dark0de Marketplace, White House

 Marketplace, and World Marketplace Dark Web drug markets.

         A. Background on the Tor Network and the Dark Web

        4.      The Internet is a global network of computers and other devices. Devices directly

 connected to the Internet are identified by their unique IP address. An IP address is used to route

 information between devices. Generally, when one device contacts a second device, the first device



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 must be directed to the IP address of the second device. Moreover, when the first device contacts

 the second device, the first device provides its own IP address to the second device, so that the

 second device knows where to direct its response. Accordingly, the two connected devices (for

 instance, a home computer and the www.google.com website server) know each other’s IP address.

          5.       The typical user may not know the IP address of a website visited. Typically, a user

 will type the domain name of the website—which commonly corresponds to a plain-language name

 for the website, e.g., www.google.com—into the Uniform Resource Locator (“URL”) bar at the top

 of their web browser. This domain name will be transmitted to a Domain Name System (“DNS”)

 server, which then translates the domain name into the appropriate numerical IP address, and

 thereby allows the user to connect with the requested website. Conversely, if a user knows of a

 unique IP address for a particular website, generally1 the user can type that IP address directly into

 the URL bar and access the website in that manner.

          6.       In addition, publicly available databases can be easily searched to obtain the IP

 address for any known URL and the registered owner and location of any IP address. Thus, with

 additional inquiry, most any URL or IP address can be traced to its owner and physical location.2

 This is problematic for anyone conducting criminal activity on the internet and wishing to remain

 anonymous.




  1
   The server or virtual server with a particular IP address can host multiple websites, in which case entering that
  particular IP address would not direct a user to a single website. However, if an IP address is associated with a single
  website, entering the IP address as described above would direct the user to that particular website.
  2
    Private individuals operating home computers usually do not own and register their own IP address; instead, they
  subscribe to broadband accounts with ISPs, such as Comcast or AT&T, which in turn assign or lease an IP address to
  them (the subscriber). Nevertheless, the IP address can usually be traced to its assigned user at a given point in time
  using the ISPs’ records of which subscriber was assigned which IP address and when.

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            B. User Anonymity Provided by the Tor Network

        7.       The Onion Router (Tor) network is a special network of computers, distributed

 around the world, designed to conceal the true IP addresses of the users of the network. Every

 communication sent through Tor is directed through numerous relays within the network—and

 wrapped in a layer of encryption at each relay—such that the end recipient of the communication

 has no way of tracing the communication back to its true originating IP address.

        8.       To access the Tor network, anyone can simply download the Tor browser software

 and use it to access the internet. The user simply inputs a website IP address or URL into the Tor

 browser, and the Tor browser automatically encrypts and routes the communication through several

 relays and then out to the destination so that the destination website can only see the IP address of

 the last (or “exit”) relay and not the IP address of the device actually connecting to the destination

 website.

        9.       By way of illustration, in a standard internet communication, when a person

 connects to a website, that website can see that person’s IP address:




  In this illustration of a standard internet connection, the website www.google.com can see the

  home computer IP address (123.456.789) and, of course, the user of the home computer knew the

  URL, and therefore the IP address, of www.google.com, which the user had to type into his

  browser to connect to the website in the first place. Thus, each user’s IP address is known to the

  other, and the owner and location of both can later be traced. Similarly, any person monitoring

  the internet traffic at a point between the two IP addresses, would see the connection between IP




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  address 123.456.786 and www.google.com, and know that those two devices were

  communicating.

        10.     On the other hand, in the case of a Tor network communication, when a person

 connects to a website, the traffic is encrypted and routed through multiple relays, and that website

 cannot see that person’s IP address:




  In this illustration of a Tor network connection, the website www.google.com cannot see the home

  computer IP address (123.456.789); instead, it only sees the IP address of the device it is directly

  connected to, in this case, the third (or “exit”) Tor relay, with IP address 003.003.003, which cannot

  be traced back to the home computer user. In addition, any person monitoring the internet traffic

  at a point between the home computer and www.google.com would not know that those two

  devices were communicating. Instead, depending on the monitoring point, that person would only

  see the direct connections between the home computer and first (or “entry”) Tor relay, between

  the first and second, or second and third Tor relays, or between the third (or “exit”) Tor relay and

  www.google.com.

        11.     As with a standard internet connection, the user must have known the URL or IP

 address of the website in order to have directed a connection to it through the Tor network.

 Accordingly, although the IP address of the user is hidden from the website, the IP address of the

 website must be known to the user—the anonymity is only one-way. The Tor network addresses

 this one-way anonymity through a feature known as “hidden services.”


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            C. Hidden Services: Website Anonymity Provided by the Tor Network

           12.      To achieve true, two-way anonymity, the Tor network also enables websites to

 operate inside the network in a manner that conceals the true IP address of the computer server

 hosting the website. Such “hidden services” operating on Tor have complex web addresses,

 generated in a computer algorithm, ending in “.onion.” Unlike a standard URL, there is no way to

 retrieve a website server’s true IP address from its .onion Tor address alone. This alleviates the

 need for a Tor network user to know the true IP address of a website. Rather the user can direct

 his/her Tor browser to the .onion address, reach the website, and neither the user nor the website

 knows the other’s IP address—two-way anonymity is achieved. This network of anonymous users

 and websites is the Dark Web.

           13.      Criminals have taken advantage of the Dark Web to create websites with online

 marketplaces dedicated to the trafficking of controlled substances and other illicit goods. Websites

 such as www.deepdotweb.com maintain an overview of illegal marketplaces operating on the Dark

 Web, and how-to guides such as: “How to Buy Drugs Online from Darknet Markets.”3

            D. Description of Involved Marketplaces

           14.      Dark0de Marketplace, White House Marketplace, and World Marketplace function

 as intermediaries between buyers and sellers. Sellers create accounts in these marketplaces to

 advertise their products, such as narcotics or hacked computer passwords, and buyers create

 accounts to browse sellers’ products and purchase them; in this regard, the marketplace website

 interfaces are similar to well-known, legitimate online marketplaces.

           15.      Dark0de Marketplace, White House Marketplace, and World Marketplace perform

 moderator and maintenance services, such as receiving complaints, providing technical assistance,


  3
      https://www.deepdotweb.com/2015/12/30/buy-drugs-online-from-darknetmarkets/

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 and allowing customers to post reviews of their vendors. The marketplace also provides a means

 by which its users can communicate with its administrators and operators. These marketplaces also

 charge a commission from every transaction as a percentage of the sale price.

        16.     However, unlike legitimate online marketplaces, Dark0de Marketplace, White

 House Marketplace, and World Marketplace are dedicated and designed to facilitate the sale of

 illegalities, such as illegal narcotics and drug paraphernalia. Illegal drugs, such as

 methamphetamines, heroin, and cocaine, are openly advertised and sold and are immediately and

 prominently visible on the websites. The websites are specifically designed to facilitate illegal

 commerce by working to ensure the anonymity of its administrators, as well as of the buyers and

 sellers who participate in commerce on the website. The websites are designed to achieve this

 anonymity primarily by operating as a hidden service on the Tor network. To further promote

 anonymity, purchases are made primarily in Bitcoin (or other virtual currency) using the websites’

 escrow services.

         E. Use of Pretty Good Privacy (PGP) keys to encrypt messages

        17.     To encrypt messages and add anonymity, a marketplace user can use Pretty Good

 Privacy (PGP), an encryption system used for both sending and receiving encrypted messages and

 sensitive files. Using this encryption system, users can generate a public and a private key, which

 are mathematically related and used for encrypting and decrypting messages. Each key is a digital

 signature, a small file with a stream of uniquely generated characters. Each person using PGP has

 both a public key and a private key. The public key is disclosed/distributed to be used in encrypting

 a message/file for the corresponding private key holder, while the private key is kept secret to only

 be used by the message recipient to decrypt the message/file. A PGP encrypted message/file is




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  scrambled in a complex way to make it unreadable to anyone other than the intended recipient, who

  holds the corresponding private key.

                                      SYNTROPY INVESTIGATION

          F. Subject Parcel A

         18.      On July 16, 2021, a United States Postal Inspector located in Seattle, Washington,

  conducted an undercover purchase of one gram of cocaine from vendor “Syntropy” on the Dark0de

  Marketplace in exchange for cryptocurrency.4

         19.      On or about July 23, 2021, a parcel arrived at the address the Inspector provided to

  “Syntropy.” Inside the parcel was a silver mylar bag containing a white

  powdery substance in a plastic baggie (see Figure 1). The substance

  weighed approximately 1.7 grams and returned a field test result for the

  presence of cocaine (hereinafter “Subject Parcel A”). The sender address
                                                                                      Figure 1
  on Subject Parcel A was as follows: ECM PARTS REPLACEMENT

  LLC., 5500 MILITARY TRAIL #22, JUPITER FL 33458. The parcel was first scanned at the

  Summit Boulevard Post Office in West Palm Beach, meaning it was mailed from the Summit

  Boulevard address. A review of commercial databases revealed the 5500 MILITARY TRAIL #22

  address was the address to a UPS store. The search yielded no results for ECM PARTS

  REPLACEMENT LLC in Jupiter, Florida.




  4
    During this investigation, Agents compared the public keys (PGP keys described above) used by “Syntropy” within
  the different marketplaces and discovered the same public key was utilized by “Syntropy” for communication in the
  Dark0de Marketplace, White House Marketplace, and World Marketplace. A PGP encrypted message/file, encrypted
  by the same public key, is scrambled in a complex way to make it unreadable to anyone other than the intended
  recipient, who holds the corresponding private key, which in this case is user Syntropy.


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         G. Subject Parcel B

         20.     On August 3, 2021, an FBI Online Covert Employee (OCE) conducted a cocaine

  buy from username "Syntropy" on the White House Marketplace which revealed the characteristics

  of his parcels. The order was delivered on August 11, 2021, and the contents tested positive for

  cocaine. The parcel (hereinafter “Subject Parcel B”) had a fictitious business sender address of

  Trifecta Consulting, 6671 W Indiantown Rd Ste 50, Jupiter, FL 33458, and was mailed out of the

  Summit Boulevard Post Office in West Palm Beach according to United States Postal Service

  (USPS) records.

         21.     USPIS inspectors seized Subject Parcel B and opened it in conjunction with

  investigative partners. Within it, investigators found a silver mylar bag

  containing approximately 4.5 grams of a white powdery substance that

  field tested positive for cocaine (see Figure 2). A subsequent lab test

  returned a reported result of cocaine.
                                                                              Figure 2

         22.     A review of commercial databases revealed the 6671 W

  Indiantown Rd Ste 50, Jupiter, FL 33458, was the address to a UPS store. The search yielded no

  results for Trifecta Consulting in Jupiter, Florida.

         H. Subject Parcel C and Identification of “Syntropy”

         23.     A USPIS agent compiled a list of parcels sent using fictitious business addresses

  where the parcel was sent from a Post Office outside the vicinity of the reported fictitious business

  address. The list revealed a large number of parcels with fictitious business addresses being sent

  from Post Office locations in the Town of Palm Beach.

         24.     On January 18, 2022, the OCE purchased seven (7) grams of crystal

  methamphetamine from username "Syntropy" on a dark web marketplace Dark0de (hereinafter



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  “Subject Parcel C”) to be shipped to a specific undercover address (hereinafter UC ADDRESS).

  User "Syntropy" accepted the order on January 19.

         25.     On or about January 18, 2022, an agent with the USPIS advised a Town of Palm

  Beach postal employee to gather further intelligence on any suspicious mailings out of the Town of

  Palm Beach Post Office locations resembling the mailing previously sent by "Syntropy" to law

  enforcement on August 11, 2021. During the conversation, the postal employee advised that an

  unknown white male had previously deposited a large number of parcels at the 340 Royal Poinciana

  Way Post Office. He deposited the parcels roughly two to three times a week and the parcels had

  similar characteristics to the mailings previously sent by "Syntropy."

         26.     On January 20, 2022, agents conducted surveillance at

  the USPS drop box located at 95 N County Road in the Town of Palm

  Beach where "Syntropy" was believed to be mailing parcels

  containing controlled substances. During the surveillance, a postal

  employee at the USPS store located at 340 Royal Poinciana Way

  advised USPIS agents that a large batch of parcels matching the

  description of the "Syntropy" parcel had recently been deposited into
                                                                           Figure 3

  a drop box in the lobby. The postal employee also provided USPIS

  with a photograph of the individual who deposited the parcels (see Figure 3). The photograph was

  taken between approximately 3:30 p.m. and 4:00 p.m. that same day.

         27.     Later that day, USPIS agents met with a postal employee at the 340 Royal Poinciana

  Way location and the employee provided agents with forty-five (45) USPS priority and express

  parcels dropped off by the individual the employee had photographed. Among the parcels, agents




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  located Subject Parcel C from the undercover drug purchase conducted by the OCE. Subject Parcel

  C was addressed to the UC ADDRESS provided by the OCE.

         28.     That same day, on January 20, 2022, an attempt was made to obtain camera footage

  from 340 Royal Poinciana Way to identify the vehicle used during the parcel drop off. Meanwhile,

  agents decided to leave the area and wait for the building manager to reach out and possibly provide

  information about the vehicle. Shortly thereafter, a clerk at the 340 Royal Poinciana Way Post

  Office revealed to agents that the subject may have been driving a van. The 340 Royal Poinciana

  Way building manager was unable to provide any camera footage.

         29.     After leaving 340 Royal Poinciana Way, a USPSOIG agent decided to drive back to

  the Summit Boulevard Post Office in West Palm Beach and check the blue boxes (USPS boxes

  where mail is dropped off for delivery) in the event the subject dropped any additional parcels at

  that location. Upon his arrival at Summit Boulevard, he noticed a red van parked at the blue USPS

  drop box and noted that the driver was placing several parcels into the blue box. The agent drove

  by the van and observed that the driver fit the exact description as the photograph of the subject

  who had just dropped off the large batch of parcels at the Palm Beach Post Office. The agent

  watched as the subject drove away from the blue box and pulled into a parking space in front of the

  Post Office. The subject went inside carrying a white bin containing addition parcels. The agent

  watched as the subject walked into the lobby of the post office and placed additional parcels inside

  the lobby mailbox.




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         30.     At approximately 6:00 p.m., the USPSOIG agent observed the Florida license plate

  on the red van (hereinafter TARGET VEHICLE) (see Figure

  4). The agent conducted a search of the Florida Department of

  Highway Safety and Motor Vehicles database. The van bearing

  Florida tag 45AAXG is registered to Kevin Christian FUSCO.

  The driver's license photo in the database matched the

  description of the individual observed by the USPSOIG agent
                                                                    Figure 4
  at the Summit Boulevard Post Office and the photograph taken

  earlier at the Palm Beach Post Office location.

         31.     After FUSCO left the Summit Boulevard Post Office, the agent followed the

  TARGET VEHICLE until reaching the Palm Beach Lakes Blvd exit off 1-95. Fusco continued

  eastbound on Palm Beach Lakes Boulevard. The agent terminated his surveillance at that time.

         32.     The USPSOIG agent then returned to the Summit Boulevard Post Office to

  determine how many parcels were mailed by FUSCO. When he arrived at the Post Office, the clerk

  was getting ready to empty both the outside and inside boxes. The agent assisted the clerk in locating

  the parcels and took pictures of 42 parcels located in the two boxes.

         33.     A later inspection of License Plate Reader (LPR) cameras on the Flagler Bridge

  revealed that a red van bearing Florida license plate 45AAXG (TARGET VEHICLE) crossed the

  bridge in the eastbound direction at approximately 3:25 p.m., which agents believe corresponds

  with FUSCO's arrival at the Post Office located at 340 Royal Poinciana Way, Palm Beach, where

  he was photographed during the mailing of 45 parcels. LPR cameras also revealed that at

  approximately 4:24 p.m. the TARGET VEHICLE crossed westbound on the Lake Worth Bridge,




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  leaving the Town of Palm Beach. Agents believe that FUSCO's exit off the Town of Palm Beach

  also corresponds with his arrival at the Summit Boulevard Post Office where he mailed 42 parcels.

         34.        On January 21, 2022, agents opened Subject Parcel C shipped

  to the OCE at the UC Address. The contents of the parcel were field tested

  and determined to be approximately 8.6 grams of crystal methamphetamine

  (see Figure 5).

          I. Subject Parcel D                                                     Figure 5


         35.        On January 31, 2022, an authorized tracking warrant for the TARGET VEHICLE

  was obtained from the United States District Court for the Southern District of Florida.

         36.        On February 1, 2022, the FBI OCE conducted a 28-gram crystal methamphetamine

  buy from username "Syntropy" via the Dark0de marketplace.

         37.        On February 3, 2022, FUSCO parked the TARGET VEHICLE on Evernia Street in

  West Palm Beach. FUSCO walked across Evernia Street towards the apartment complex at 410

  Evernia Street (later determined to be the location of the TARGET RESIDENCE). He was observed

  at the entrance of the building and then was no longer in sight when agents drove back into the area

  where they could view the front of the building. A tracker was then installed on the TARGET

  VEHICLE.

         38.        Later the same day, FUSCO was observed traveling in the TARGET VEHICLE

  from the building containing the business named “mailbox wpb” located at 5725 Corporate Way,

  Suite 206, West Palm Beach, Florida, (hereinafter “TARGET BUSINESS”), to the Town of Palm

  Beach with mail bins visible in the passenger seat of the TARGET VEHICLE. Agents monitored

  FUSCO as he drove directly to Post Office located within the Royal Poinciana Plaza on Palm Beach




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  Island. At this location, FUSCO dropped off forty (40) parcels in the mail stream. All 40 of these

  parcels had the same return address of Amy Taylor 516 S Dixie Hwy, West Palm Beach, FL 33401.

         39.     On February 4, 2022, USPSOIG and USPIS agents retrieved a parcel addressed to

  the UC ADDRESS provided by the OCE for the 28-gram crystal methamphetamine order from

  “Syntropy,” (hereinafter “Subject Parcel D”). The return address on Subject Parcel D was Amy

  Taylor 516 S Dixie Hwy, West Palm Beach, FL 33401. Agents opened Subject Parcel D and found

  it contained approximately 48.6 grams of a white crystal substance (see

  Figure 6). The substance was field tested and tested positive for crystal

  methamphetamine.
                                                                              Figure 6
         40.     The same day, February 4, 2022, tracker information

  revealed the TARGET VEHICLE was traveling to the Summit Boulevard Post Office. USPSOIG

  and USPIS agents observed FUSCO exit the TARGET VEHICLE carrying a brown box. FUSCO

  entered the USPS facility and was viewed removing numerous USPS priority mail and USPS

  priority mail express parcels from inside the brown box as he stood at a stand-alone USPS blue bin.

  FUSCO was viewed placing USPS priority mail express parcels inside of the blue bin and using a

  separate blue bin to mail the remaining USPS priority mail parcels. FUSCO was then viewed

  carrying the brown box out of the USPS facility, entering the TARGET VEHICLE with the brown

  box, and driving away in the TARGET VEHICLE. A USPIS Task Force Officer immediately

  checked both blue bins inside the USPS facility that FUSCO used. The officer was able to recover

  twenty-one (21) USPS priority mail express parcels and ten (10) USPS priority parcels. All parcels

  had a return label addressed to Amy Taylor, 516 S. Dixie Hwy., West Palm Beach, FL, 33401, the

  same return information that was on Subject Parcel D. Surveillance video and photographs were

  taken during this event.



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             J. Subject Parcel E

             41.   On February 9, 2022, the FBI OCE conducted a 56-gram crystal methamphetamine

  buy from username "Syntropy" via the Dark0de marketplace.

             42.   The same day, February 9, 2022, agents conducted surveillance of FUSCO. FUSCO

                                                       was parked at

                                                       the    Holiday

                                                       Inn located on

                                                         Belvedere

                                                       Road in West
  Figure 8
                                                       Palm    Beach,
                                                                        Figure 7
  Florida. During the time the TARGET VEHICLE was parked at the

  Holiday Inn, “Syntropy” viewed the online order placed by the OCE. Agents monitored FUSCO

  most of this day. FUSCO left the hotel at approximately 3:30pm carrying a laptop case and a duffle

  bag (see Figure 7) and went directly to the TARGET BUSINESS. FUSCO was at this location for

  approximately an hour and half before loading two brown boxes in the passenger seat of the

  TARGET VEHICLE and departing (see Figure 8). FUSCO headed south to the Post Office located

  at 3200 Summit Blvd, West Palm Beach, FL 33416. FUSCO arrived at the post office at

  approximately 5:30 pm. USPIS and USPS agents who were at the post office observed FUSCO

  dropping a parcel at the blue bin outside. FUSCO then parked in the customer lot and exited the




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  TARGET VEHICLE, carrying the same boxes he loaded at his place of business (see Figure 9).

  FUSCO carried the boxes containing parcels into the post office and placed them in the mailbox.

  FUSCO dropped a total of thirty-three (33) parcels that had the return address of Amy Taylor, 516

  S Dixie Hwy, West Palm Beach, FL 33401. In the group of 33 parcels was a parcel that the FBI

  OCE purchased from “Syntropy” using a dark web account (hereinafter “Subject Parcel E”).

  Surveillance video and photographs were taken during this event.

             43.   Agents opened Subject Parcel E and found it contained

                             approximately 65.6 grams of a white crystal

                             substance (see Figure 10 and 11). The substance    Figure 10


                                                   was field tested and tested positive for crystal

                                                   methamphetamine.
  Figure 11

                                                          K.           TARGET BUSINESS and

                                                   RESIDENCE

                                                           44. FUSCO is currently on federal

                                                   supervised release. He was previously convicted

  Figure 9                                         and sentenced to thirty-six (36) months in the

  custody of the Bureau of Prisons, followed by three (3) years of supervised release, for conspiracy

  to distribute a detectable amount of MDMA, in violation of 21 U.S.C. § 846, and conspiracy to

  commit money laundering, in violation of 18 U.S.C. § 1956 (h). FUSCO commenced his term of

  supervised release in the Southern District of Florida on December 13, 2019 (17-CR-20275-

  UNGARO). Agents contacted his probation officer on February 9, 2022, and the probation officer

  notified agents that FUSCO’s residential address is 410 Evernia St., Unit 818, West Palm Beach, FL

  33401.



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           45.   On or about February 9, 2022, a USPSOIG agent reviewed a list of parcels being

  shipped to the TARGET BUSINESS building and the TARGET RESIDENCE building. Upon review

  of the data, it was discovered that from on or about November 12, 2021, to February 9, 2022, FUSCO

  received a total of seven (7) parcels at the two locations. Six (6) of the parcels were from a company

  called QQ-Studio.com. One (1) parcel from QQ Studio went to “KEVIN” at 410 Evernia St., Apt

  818, West Palm Beach, FL 33401 (TARGET RESIDENCE). Five (5) of the parcels from QQ Studio

  went to the TARGET BUSINESS. A review of the company’ website revealed that QQ Studio is a

  business specializing in the sale of small plastic mylar type baggies, the same type of baggies used to

  package the drugs received from “Syntropy.” One (1) of the parcels that went to the TARGET

  BUSINESS was from an Ebay store called Flipify that specializes in smell proof resealable zip lock

  bags and other plastic bags. Your affiant believes, based on training and experience, that these bags

  are used to evade law enforcement detection of illicit drugs.

           L. Subject Parcel F mailed to TARGET BUSINESS

           46.   On February 11, 2022, a USPS agent intercepted a parcel (hereinafter Subject Parcel

  F), tracking number 9405536895232950623673, going to the TARGET BUSINESS addressed to

  the business MAILBOX WPB located at 5725 Corporate Way, Ste. 206, West Palm Beach, FL

  33407.

           47.   On this same date, the agent contacted a Palm Beach Sheriff’s Office K-9 Deputy to

  have a trained K-9 sniff Subject Parcel F for any indication of narcotics. The Deputy’s K-9 had a

  positive hit on Subject Parcel F. A search warrant was authorized for the search of the parcel.

           48.   Upon opening Subject Parcel F, agents determined that

  it contained two (2) jars marked "Kuza Hemp" (see figure 12). These

  jars contained a total of 1884.2 grams of brown substance which tested
                                                                            Figure 12


                                                    17
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  positive for MDMA.

         49.     On February 22, 2022, a call was placed to USPS customer service regarding Parcel

  F. The caller identified himself as “Kevin.” Kevin was inquiring regarding the tracking number

  ending in 3673. Kevin stated the destination address was 5725 Corporate Way, Suite 206, West

  Palm Beach, Florida 33407. He said he was “looking at the tracking” and it’s showing the package

  was coming “here” and went back to New York and is now coming “here.” Kevin said he had never

  seen anything like that before. Kevin was advised by the customer service representative that the

  package would be going back to the sender. Kevin asked if there was any way the package could

  be re-routed so it can come back here. The customer service representative advised the package

  could not be re-routed once it went back to the sender. The customer service represententative said

  the case inquiring about the package had been opened up by someone else, “West Palm Beach.”

  Kevin stated he opened up the case in the business name West Palm Mailbox.

         N. Parcels Mailed March 1, 2022 – Stuart, Florida

         50.     Vehicle tracking data showed that on March 1, 2022, at approximately 7:05 a.m.,

  FUSCO left his residence at 410 Evernia Street in West Palm Beach. After making two brief stops

  in Palm Beach County, he drove to Martin County. At approximately 11:18 a.m., FUSCO’s vehicle

  entered the parking lot of the USPS store located at 801 SE Johnson Avenue, Stuart, FL, 34994. At

  approximately 11:23 a.m., FUSCO’s vehicle exited the USPS parking lot traveling westbound on

  SE Kindred Street.

         51.     At approximately 1:00 p.m., USPIS TFO Henry Ramos arrived at the USPS store

  located at 801 SE Johnson Avenue, Stuart, FL, 34994. While accessing USPS databases, TFO

  Ramos was able to view video footage of the inside lobby of the USPS store. TFO Ramos searched

  the video for the same time when the vehicle tracker showed FUSCO’s vehicle was parked in the



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  USPS parking lot and TFO Ramos was able to view FUSCO enter the front door of the USPS store

  carrying SUBJECT BOX #1 and SUBJECT BOX #2, both appearing to have open lids. After a

  brief period, FUSCO left SUBJECT BOX #1 and SUBJECT BOX #2 directly next to the blue USPS

  collection bins. At approximately 11:21 a.m., FUSCO exited the USPS store with nothing in his

  hands.

           52.   TFO Ramos was able to speak with a USPS supervisor and locate SUBJECT BOX

  #1 and SUBJECT BOX #2, which were in the processing portion of the store behind the blue

  collection bins (see Figure 13). The boxes were not labeled for shipping and appear to have been

  used to merely carry the large quantity of envelopes into the store. TFO Ramos was clearly able to

  see inside of SUBJECT BOX #1 and SUBJECT BOX #2 and view numerous USPS flat rate

  envelops that appeared to be consistent with the same type of Easypost labels FUSCO previously

  used to mail narcotics. Below is an image of the boxes.




                                                Figure 13

           53.   On the same day, SUBJECT BOX #1 and SUBJECT BOX #2 were individually


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  placed in an open-air setting among similar sized boxes lined up on the floor at a USPS facility located

  at 3200 Summit Boulevard, West Palm Beach, FL, 33406. Both boxes were examined by a narcotics-

  trained canine named “Wall-E,” who alerted to SUBJECT BOX #1 and SUBJECT BOX #2 for the

  presence of narcotics.

         54.     A search warrant for SUBJECT BOX #1 and SUBJECT BOX #2 was obtained on

  March 2, 2022, from the United States District Court for the Southern District of Florida. The boxes

  contained fifty-four (54) parcels which were opened and searched. The search yielded 46.6 grams

  of crystal methamphetamine, some of which was tested and tested positive for methamphetamine,

  48.6 grams of white and brown Fentanyl, some of which was tested and tested positive for Fentanyl,

  4.8 grams of Ketamine, some of which was tested and tested positive for Ketamine, 38.2 grams of

  MDA (methylenedioxyamphetmine, a schedule 1 controlled substance) which was tested and tested

  positive for MDA, 4.4 grams of black tar Heroin, some of which was tested and tested positive for

  Heroin, 94 grams of M-30 pills (a suspected mixture of Fentanyl and Codine), some of which was

  tested and tested positive for Codine (the Fentanyl test was inconclusive, but based on my training

  and experience, these pills are often laced with Fentanyl) and 17.6 grams of Ecstasy, some of which

  was tested and tested positive for Ecstasy.

         O.       Parcels Mailed March 2, 2022 – Port St. Lucie, Florida

         55.     Vehicle tracking data shows that on March 2, 2022, at approximately 7:05 a.m.,

  FUSCO left 410 Evernia Street in West Palm Beach, made one stop in Palm Beach, and drove to

  Port St. Lucie, Florida. At approximately 11:33 a.m., FUSCO’s vehicle entered the parking lot of

  the USPS store located at 2255 SE Veterans Memorial Parkway, Port Saint Lucie, FL, 34952. At

  approximately 11:44 a.m., FUSCO’s vehicle exited the USPS parking lot traveling sound bound on

  SE Veterans Memorial Parkway.



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         56.     While FUSCO was depositing an abundance of USPS priority/express envelopes

  into several bins, USPIS TFO Henry Ramos arrived at the USPS store located at 2255 SE Veterans

  Memorial Parkway, Port Saint Lucie, FL, 34952. While conducting surveillance in the parking lot

  of the USPS store, TFO Ramos was able to view FUSCO carrying a brown box filled with an

  unknown number of USPS priority flat rate envelopes and depositing them into several USPS

  mailing blue bins located inside and outside of the USPS store. After a brief period of watching

  FUSCO deposit parcels, TFO Ramos viewed him walking away from the USPS store carrying the

  brown box.

         57.     Following FUSCO’s exit from the USPS parking lot, TFO Ramos immediately met

  with an employee at the USPS store. A total of nineteen (19) 9.5” x 12.5” USPS priority flat rate

  envelopes were recovered (see Figure 14). One (1) of the envelopes had a return address of “Michael

  Sanders, 4371 Northlake Blvd., Palm Beach Gardens, FL, 33410.” Eighteen (18) of the envelopes

  had a return address of “Amy Smith, 12717 W. Sunrise BLVD, Sunrise, FL, 33323.” The parcels

  appeared to be consistent with the previous mailings of FUSCO based on the method of packaging

  and the use of prepaid labels with generic names and alias return addresses.




                                                 Figure 14




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         58.     On the same day, the SUBJECT PARCELS were examined by a narcotics-trained

  canine named “Wall-E,” who alerted to each of the SUBJECT PARCELS listed in Attachment A

  for the presence of narcotics. Palm Beach County Sheriff’s Office (PBSO) Deputy Cesar Tejada

  and “Wall-E” have trained and worked as a team for approximately three years. “Wall-E” has

  successfully completed 420 hours of Narcotics Detection Courses, and “Wall-E” is certified in the

  detection of cocaine, heroin, methamphetamine and ecstasy as well as derivatives. “Wall-E” is

  certified on a yearly basis.

         59.     A search warrant for SUBJECT PARCELS out of Port St. Lucie was obtained on

  March 4, 2022, from the United States District Court for the Southern District of Florida. The

  nineteen (19) parcels were opened and searched. The search yielded 8.8 grams of Fentanyl, some

  of which was tested and tested positive for Fentanyl, and 139.8 grams of MDA, some of which was

  tested and tested positive for MDA.

          P. Parcels Mailed March 2, 2022 – Jensen Beach

         60.     Vehicle tracking data shows that on March 2, 2022, at approximately 7:05 a.m.,

  FUSCO left 410 Evernia Street in West Palm Beach and made several stops in Martin County, to

  include a USPS store in Port St. Lucie. At approximately 1:25 p.m., FUSCO’s vehicle entered the

  parking lot of the USPS store located at 2301 NE Savannah Road, Jensen Beach, FL, 34957. At

  approximately 1:45 p.m., FUSCO’s vehicle exited the USPS parking lot traveling northbound on

  NE Savannah Road.

         61.     While FUSCO was depositing an abundance of USPS priority/express envelopes

  into several bins, S.A. A. Reyes (DEA) arrived at the USPS store located at 2301 NE Savannah

  Road, Jensen Beach, FL, 34957. While conducting surveillance in the parking lot of the USPS store,

  S.A. A Reyes was able to view FUSCO making several trips from his vehicle carrying a brown box



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  filled with an unknown number of USPS priority flat rate envelopes and depositing them into

  several USPS mailing blue bins located inside of the USPS store. After a brief period, S.A. A. Reyes

  viewed FUSCO exiting the USPS store carrying an empty brown box.

         62.      After FUSCO exited from the USPS parking lot, S.A. A. Reyes immediately met

  with an employee at the USPS store. A total of sixty-four (64) 9.5” x 12.5” USPS priority flat rate

  envelopes were recovered with a return address of “Michael Sanders, 4371 Northlake Blvd., Palm

  Beach Gardens, FL, 33410” (see figure 15). The parcels appeared to be consistent with the previous

  mailings of FUSCO based on the method of packaging and the use of prepaid labels with generic

  names and alias return addresses.




                                                Figure 15

         63.      On the same day, the SUBJECT PARCELS were individually placed in an open-air

  setting among similar sized parcels lined up on the floor at a USPS facility located at 3200 Summit

  Boulevard, West Palm Beach, FL, 33406. The SUBJECT PARCELS were examined by a narcotics-

  trained canine named “Wall-E,” who alerted to each of the SUBJECT PARCELS for the presence

  of narcotics.

         64.      A search warrant for SUBJECT PARCELS out of Jensen Beach was obtained on


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  March 4, 2022, from the United States District Court for the Southern District of Florida. The sixty-

  nine (69) parcels were opened and searched. The search yielded 60.4 grams of crystal

  methamphetamine, some of which was tested and tested positive for methamphetamine, 111 grams

  of powder Fentanyl, some of which was tested and tested positive for Fentanyl, 1.8 grams of MDA,

  some of which was tested and tested positive for MDA, 7.6 grams of black tar Heroin, some of

  which was tested and tested positive for Heroin, 115.8 grams of M-30 pills (a suspected mixture of

  Fentanyl and Codine), and 20.6 grams of Ecstasy, some of which was tested and tested positive for

  Ecstasy.

             Based on the facts outlined above, your affiant believes there is a probable cause to charge

  Kevin FUSCO with conspiracy to distribute 50 grams of more of methamphetamine, in violation

  of 21 U.S.C. §§ 841(a)(1), 846 and 841(b)(1)(A)(viii), conspiracy to distribute 40 grams of

  more of fentanyl, in violation of 21 U.S.C. §§ 841(a)(1), 846 and 841(b)(1)(B)(vi), and

  possession with intent to distribute 50 grams or more of methamphetamine, in violation of 21

  U.S.C. §§ 841(a)(1), and 841(b)(1)(A)(viii).

                                           FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                                   _________________________________________
                                                   ARTURO CALDERON
                                                   Special Agent, FBI


  Sworn to me via Telephone-FaceTime by the
  affiant in accordance with the requirements of
  Fed. R. Crim. P 4.1 on this ___ day of March 2022.


  ____________________________________
  HON. RYON M. MCCABE
  UNITED STATES MAGISTRATE JUDGE
  SOUTHERN DISTRICT OF FLORIDA




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. ____________________

                                         PENALTY SHEET

    Defendant's Name: KEVIN C. FUSCO


    COUNT           VIOLATION                         U.S. CODE                 MAX. PENALTY
1            Conspiracy to possess with         21 U.S.C. §§ 841(a)(1),    Up to life imprisonment;
             intent to distribute 50 grams or   846 and                    Minimum of 10 years’
             more of methamphetamine            841(b)(1)(A)(viii)         imprisonment;
                                                                           Up to $10,000,000 fine;
                                                                           Supervised release of at least 5
                                                                           years and up to life;
                                                                           $100 Special Assessment

2            Conspiracy to possess with         21 U.S.C. §§ 841(a)(1),    Up to 40 year imprisonment;
             intent to distribute 40 grams or   846 and 841(b)(1)(B)(vi)   Minimum of 5 years’
             more of fentanyl                                              imprisonment;
                                                                           Up to $5,000,000 fine;
                                                                           Supervised release of at least 4
                                                                           years and up to life;
                                                                           $100 Special Assessment

3            Possession with intent to          21 U.S.C. §§ 841(a)(1),    Up to life imprisonment;
             distribute 50 grams or more of     and 841(b)(1)(A)(viii)     Minimum of 10 years’
             methamphetamine                                               imprisonment;
                                                                           Up to $10,000,000 fine;
                                                                           Supervised release of at least 5
                                                                           years and up to life;
                                                                           $100 Special Assessment
